                                                                                 Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
                                                              18CG-CC00124
  Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 1 of 24 PageID #: 76



              IN THE CIRCUIT COURT OF CAPE GIRARDEAU COUNTY
                                  STATE OF MISSOURI
Carl D. Ritter Jr.                      )
      Plaintiff,                        )
                                        )
                                        )
       -vs-                             ) Case No:
                                        )
                                        )
Delta School District R-V               )
       Defendant,                       )
                                        )
and                                     )
                                        )
Melissa Heath, individually and/or      )
in her official capacity.               )
                                        )
and                                     )
                                        )
Ken Cook, David Coomer, and             )
Scott Bond, Matt Huffman                )
individually and/or in their            )
official capacities                     )
serve each at: 324 N. Liberty Street    )
               Delta, Mo 63744          )
and                                     )
                                        )
Alan Ikerman, Meredith Scherer and      )
Troy Smith,                             )
individually and/or in their            )
official capacities                     )
serve each at: 324 N. Liberty Street    )
               Delta, Mo 63744          )
                                       PETITION




                                                                    EXHIBIT A
                                                                                                      Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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                                     NATURE OF CASE

 1. This is a case under the Missouri Human Rights Act, RSMO 213. 010, et seq. (MHRA),

     The Age Discrimination in Employment Act of 1967 (ADEA) and common-law public

     policy.

                                           PARTIES

 2. Plaintiff is a resident of the state of Missouri, and at all relevant times prior to his

     termination, was an employee of defendant, School District of Delta R-V (hereinafter, the

     District).

 3. Plaintiff is male and is 57 years old.

 4. The District is a political subdivision of the state of Missouri and an employer within the

     meaning of the MHRA, RSMO213. 010 and, upon information and belief, maintain

     liability insurance covering the claim made in count one at all relevant times.

 5. Dr. Melissa Heath, at all relevant times was the Superintendent of the District,

     responsible for executing District policy, and acting directly in the interest of the District

     therefore an employer within the meaning of MHRA, RSMO 213.010.

 6. Defendants Ken Cook, David Coomer, Scott Bond, Matt Huffman, Alan Ikerman,

     Meredith Scherer and Troy Smith were members of the Board of Education of the

     District who dismissed Plaintiff Ritter. They are hereinafter collectively referred to as the

     “Individual Board Defendants.” They and/or the District were Ritter’s employer within

     the meaning of § 213.010(7). At the time they took action against Mr. Ritter, the

     Individual Board Defendants knew or should have known that administrators in the

     District were discriminating against Ritter by firing him. Upon information and belief,

     these Defendants dismissed Plaintiff Ritter in an effort to protect other Defendants from
                                                                                                   Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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    liability for their age discrimination against Ritter. They are sued in their individual and

    official capacities.

                           JURISDICTION, VENUE, JURY DEMAND

 7. All relevant acts and omissions described herein took place in Cape Girardeau County,

    Missouri.

 8. Plaintiff filed a timely charge of discrimination with the Equal Opportunity Employment

    Commission.

 9. The Equal Opportunity Employment Commission issued Plaintiff’s Notice of Right to

    Sue on February 22nd, 2018.

 10. Plaintiff exhausted all administrative prerequisites to suit.

 11. The amount in controversy exceeds $25,000; Plaintiff demands a trial by jury.

                                GENERAL ALLEGATIONS

 12. Plaintiff Carl Ritter Jr. is a resident of Cape Girardeau, Cape Girardeau County, Missouri

    age 57, date of birth September 9th, 1960, at all times herein material.

 13. That Defendant is a duly organized School District Primarily in Cape Girardeau County,

    Missouri operating a public school for students from Grades K through 12.

 14. Defendant is an employer within the meaning of and has employed the requisite number

    of persons under Chapter 213, RSMo.

 15. Venue is proper in this Court because the unlawful employment practices and other

    counts alleged in this Petition were committed in Cape Girardeau County, Missouri.

 16. Plaintiff timely filed a charge of age discrimination with the Equal Opportunity

    Employment Commission (“EEOC”), on or about September 10th, 2017.
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 17. Plaintiff received a Notice of Right to Sue from the Equal Opportunity Employment

    Commission on February 22nd, 2018, attached hereto as “Exhibit A” and made part

    hereof.

 18. This action has been commenced within 90 days of the date of this notice. Plaintiff has

    therefore met all administrative and jurisdictional requirements of the Act.




                               FACTUAL ALLEGATIONS

 19. That the Plaintiff is a resident of Cape Girardeau, Cape Girardeau County, Missouri age

    57, date of birth September 9th, 1960, at all times herein material.

 20. That Defendant is a duly organized School District Primarily in Cape Girardeau County,

    Missouri operating a public school for students from Grades K through 12.

 21. That the District is supervised by a seven-member board of education with a

    superintendent and a high school principal.

 22. That the Plaintiff was employed by the Defendant as a junior high science, physical

    education teacher and as a coach.

 23. That in April, 2017 Superintendent Heath informed a gathering of faculty, including

    Plaintiff that all faculty contracts were being renewed for the upcoming year.

 24. Plaintiff relied on Superintendent Heath’s statements and did not apply for other open

    positions at other local school districts.

 25. That in early March, 2017, Plaintiff applied for the position of Principal at Delta R-V

    Schools.

 26. Plaintiff was ultimately not chosen for vacant position and other candidates were

    considered.
                                                                                               Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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 27. That Superintendent Melissa Heath had informed select staff that the Plaintiff had not

    been selected for the vacant position before Plaintiff had been informed.

 28. That at 8:50 a.m. on March 20th Plaintiff was instructed to meet with Superintendent

    Heath at her office later that day.

 29. At the meeting between Plaintiff and Superintendent Heath, Plaintiff expressed

    disappointment that staff was informed of the boards decision before the Plaintiff was

    informed.

 30. That on March 21st, 2017 Plaintiff was asked to meet with Superintendent Heath and was

    subsequently placed on administrative leave and escorted off campus in the presence of

    faculty and students.

 31. On March 23rd, 2017 Plaintiff received a phone call from Superintendent Heath and

    informed the Plaintiff that she wanted to ask him some questions. Plaintiff agreed to

    answer Superintendent Heath’s questions in person and with a witness.

 32. Superintendent Heath informed Plaintiff that he was refusing to cooperate and ended the

    phone call.

 33. Plaintiff Ritter complied or attempted to comply with all of Ms. Heath’s instructions.

 34. On March 31st, 2017 the Plaintiff received a letter signed by the Board of Education

    President stating that the board had voted to reconsider their previous offer of

    employment to the Plaintiff and not renew his contract for the school year 2017-2018 and

    that Plaintiff would remain on administrative leave.

                                           COUNT I

                VIOLATIONS OF THE MISSOURI HUMAN RIGHTS ACT
                                                                                                 Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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 35. Mr. Ritter hereby adopts, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 34 above.

 36. Plaintiff’s age was a contributing factor in his having been subjected to a

 hostile/discriminatory work environment and termination from his position as teacher.

 37. Plaintiff’s age was a contributing factor in the decision not to retain his position as

 teacher.

 38. Plaintiff’s age was a contributing factor in Delta School District’s decision not to hire

 him for the position of principal which he applied to.

 39. The acts mentioned above or in violation of RSMo. § 213.055.

 40. The acts mentioned above interfered with the Plaintiff’s enjoyment of the benefits

 privileges, terms and conditions of his employment.

 41. As a direct and proximate cause of said discrimination, hostile work environment, and

 termination of his teaching position, Plaintiff has suffered the following:

    a. Lost income, including but not limited to backpay, front pay and loss benefits;

    b. Lost career opportunities, including but not limited to opportunities for advancement,

    status, pay and benefits; and

    c. Mental and emotional anguish defined as “garden-variety” by Missouri law.

 42. Pursuant to the MHRA, RSMo. § 213.111, Plaintiff is entitled to and hereby requests an

 award of attorney’s fees and post judgement interest at the highest lawful rate on any award

 or verdict provided.
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 43. The actions of Delta School District and Superintendent Heath were willful, wanton, and

 in complete indifference to Plaintiff’s rights. These actions are sufficient to justify the award

 of punitive damages to deter Delta School District and Superintendent Heath, and similarly

 situated defendants, from like actions in the future; and for such other and further relief as the

 Court deems just and proper.

                                            COUNT II

  AGE DISCRIMINATION IN VIOLATION OF THE MISSOURI HUMAN RIGHTS

                                 ACT, CHAPTER 213, RSMO

 44. Mr. Ritter hereby adopts, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 43 above.

 45. Defendant engaged in discriminatory actions towards Mr. Ritter including tolerating a

 pattern of differential treatment and harassment towards him and other teachers, which

 including removing him from his position at Delta High School.

 46. Mr. Ritter’s age was a contributing factor in the discriminatory actions alleged herein

 47. As a direct result of Defendant’s discriminatory actions, Mr. Ritter has suffered economic

 damages.

 48. As a further result of the actions of the School District, Mr. Ritter has suffered a loss of

 self-esteem, humiliation, emotional distress and mental anguish.

 49. Mr. Ritter is entitled to recover from Defendant his reasonable attorneys’ fees, as provide

 in as provided in R.S.Mo § 213.111.2.
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    WHEREFORE, Mr. Ritter requests that the Court enter judgement in his favor and

 against Defendant, for such damages as are fair and reasonable, for his reasonable attorneys’

 fees and costs incurred herein, for interest as allowed by law, and for such other further legal

 and equitable relief as the Court deems proper.




                                           COUNT III

    FAILURE TO INSTRUCT/TRAIN SUPERVISE, CONTROL AND DISCIPLINE

   DIRECTED AGAINST DEFENDANT’S DISTRICT, DEFENDANT HEATH, AND

                                             BOARD

 For Count III of Plaintiff’s cause of action against Defendants District, Heath and Board of

 Education, Plaintiff states as follows:

 50. Plaintiff alleges and incorporates by reference as if fully set forth herein, paragraphs 1

 through 49 above.

 51. While the district purportedly has policies and procedures prohibiting discrimination and

 retaliation, there exists within the District customs, practices and usages that are so pervasive

 that they constitute the policies of the defendants named herein, which caused the statutory

 violations and damages suffered by Mr. Ritter as set forth herein.

 52. These Defendants owed a duty to Mr. Ritter to properly supervise other employees of the

 District to protect him from unreasonable risk of illegal discrimination.
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   53. These Defendants breached their duty to Mr. Ritter and instead acted to protect the

   Defendant District and Heath when they discriminated against Mr. Ritter, going as far to

   dismiss Mr. Ritter from his position.

   54. These Defendants failed to use reasonable care in their supervision and control of

   Defendants’ Delta School District and Heath, and therefore, they breached the duty they

   owed to Mr. Ritter

   55. As a direct and proximate result of the acts and/or omissions complained of herein, Mr.

   Ritter lost wages and other benefits of employment.

   56. As a direct and proximate result of the acts and/or omissions complained of herein, Mr.

   Ritter has suffered and will continue to suffer physical and emotional pain and suffering,

   mental anguish, inconvenience, humiliation, embarrassment, loss of enjoyment of life, and

   stress.

   57. As a direct and proximate result of the acts and/or omissions complained of herein,

   Mr.Ritter has incurred and will continue to incur attorneys’ fees, costs and expenses of

   litigation, to include but not limited to the attorneys’ fees, costs and expenses related to this

   action.

   58. Defendants’ conduct was outrageous because of their evil motive or reckless indifference

   to the rights of others, and therefore, an award of punitive damages against the individual

   Defendants named herein, jointly and severally, is appropriate.

WHEREFORE, Plaintiff, Carl Ritter prays for an award of actual damages in an amount

exceeding $25,000.00 against all Defendants for lost wages and benefits of employment, his

emotional pain and suffering, inconvenience, mental anguish, loss of enjoyment of life,
                                                                                                         Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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humiliation, stress, and loss of person and professional reputation, as well as costs and attorney’s

fees incurred herein. Plaintiff furtherer requests that this Court award him punitive damages

against these Defendants, and such other and further relief as may appear to the Court to be

equitable and just under the circumstances.

                                            COUNT IV
                                    AGE DISCRIMINATION
                                              ADEA
       59. Plaintiff alleges and incorporates by reference as if fully set forth herein, paragraphs 1

       through 58 above.

       60. The subjection of plaintiff to disparate treatment and adverse employment actions by

       defendants in whole or substantial part because of his age was in violation of the ADEA,

       29 U.S.C. § 623 (1).

       61. Defendant’s violation of the ADEA was willful and plaintiff seeks liquidated

       damages for each violation.

       62. Plaintiff has been made to suffer mental anguish and emotional distress, loss of

       employment and future employment opportunities, and loss of wages and benefits, as ad

       the direct and proximate result of defendants’ violation of her civil rights alleged herein.

       Plaintiff is reasonably certain to continue to suffer these damages in the future. Plaintiff is

       entitled to the rights and remedies at law provided by the ADEA, 29 U.S.C. § 216 (b)

       including actual damages, compensatory damages, and attorney’s fees.

       WHEREFORE, Plaintiff prays for a judgement jointly and severally in his favor against

       the defendants as follows:
                                                                                           Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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    1. Awarding the Plaintiff compensatory damages, punitive damages and attorney’s fees

       on Count I in excess of $25,000.00;

    2. Awarding actual damages, compensatory damages and punitive damages on Count II

       in excess of $25,000.00;

    3. Awarding actual damages, compensatory damages and punitive damages on Count III

       in excess of $25,000.00;

    4. Awarding actual damages, compensatory damages and punitive damages on Count IV

       in excess $25,000.00




                                         Respectfully submitted,




                                  /s/ Gabryn Hazel
                                  Gabryn Hazel Mo Bar No. 69709
                                  Associate Attorney at Michael Moroni Attorney at Law
                                  P.O. Box 24
                                  Bloomfield, Mo 63825
                                  Voice: 573-568-9085
                                  Fax: 573-568-2133
                                  Email: gabe@moronilaw.com


                                  Attorney for Plaintiff


                                  /s/ Michael Moroni
                                  Michael Moroni      Mo Bar No. 36560
                                  Attorney at Law
                                  P.O. Box 24
                                  Bloomfield, Mo 63825
                                  Voice: 573-568-9085
                                  Fax: 573-562-2133
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                             michael_moroni1126@yahoo.com


                             Attorney for Plaintiff
                                                                                        Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
Exhibit A
                                                                    18CG-CC00124
        Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 13 of 24 PageID #: 88
                                                                                Electronically Filed - Cape Girardeau (Cape Girard) - May 22, 2018 - 04:05 PM
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             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                          (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: DELTA R-V SCHOOL DISTRICT
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                                /s/   Jana Walther, Deputy Clerk
                                                         Date                                                     Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________               _____________________________________________
                                                                              Date                                      Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-344                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 16 of 24 PageID #: 91

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                           (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: MELISSA HEATH
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                   May 29, 2018                               /s/   Jana Walther, Deputy Clerk
                                                         Date                                                      Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________                _____________________________________________
                                                                              Date                                       Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-345                    1 of 1                   Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 17 of 24 PageID #: 92

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                           (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: KEN COOK
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                                /s/   Jana Walther, Deputy Clerk
                                                         Date                                                      Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________                _____________________________________________
                                                                              Date                                       Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-346                    1 of 1                   Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 18 of 24 PageID #: 93

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                          (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: DAVID COOMER
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                   May 29, 2018                              /s/   Jana Walther, Deputy Clerk
                                                         Date                                                     Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________               _____________________________________________
                                                                              Date                                      Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-347                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 19 of 24 PageID #: 94

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                           (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: SCOTT BOND
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                                /s/   Jana Walther, Deputy Clerk
                                                         Date                                                      Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________                _____________________________________________
                                                                              Date                                       Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-348                    1 of 1                   Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 20 of 24 PageID #: 95

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                          (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: MATT HUFFMAN
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                               /s/   Jana Walther, Deputy Clerk
                                                         Date                                                     Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________               _____________________________________________
                                                                              Date                                      Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-349                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 21 of 24 PageID #: 96

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                          (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: ALAN IKERMAN
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                              /s/   Jana Walther, Deputy Clerk
                                                         Date                                                     Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________               _____________________________________________
                                                                              Date                                      Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-350                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 22 of 24 PageID #: 97

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                          (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: MEREDITH SCHERER
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                                /s/   Jana Walther, Deputy Clerk
                                                         Date                                                     Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________               _____________________________________________
                                                                              Date                                      Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-351                    1 of 1                  Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 23 of 24 PageID #: 98

             IN THE 32ND JUDICIAL CIRCUIT COURT, CAPE GIRARDEAU COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 18CG-CC00124
 BENJAMIN FREDERICK LEWIS
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 CARL RITTER JR                                                     GABRYN L HAZEL
                                                                    ATTORNEY AT LAW
                                                                    310 SHAWNEE STREET
                                                                    PO BOX 24
                                                              vs.   BLOOMFIELD, MO 63825
 Defendant/Respondent:                                              Court Address:
 DELTA R-V SCHOOL DISTRICT                                          COMMON PLEAS COURTHOUSE
 Nature of Suit:                                                    44 N LORIMIER
 CC Employmnt Discrmntn 213.111                                     CAPE GIRARDEAU, MO 63701                                           (Date File Stamp)

                                                                Summons in Civil Case
     The State of Missouri to: TROY SMITH
                                      Alias:
  324 N. LIBERTY
  DELTA, MO 63744


        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

                                                  May 29, 2018                                /s/   Jana Walther, Deputy Clerk
                                                         Date                                                      Clerk
  CAPE GIRARDEAU COUNTY
                                       Further Information:
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                     Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________                _____________________________________________
                                                                              Date                                       Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (SMCC) For Court Use Only: Document Id # 18-SMCC-352                    1 of 1                   Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                          54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
      Case: 1:18-cv-00170-ACL Doc. #: 4 Filed: 07/13/18 Page: 24 of 24 PageID #: 99




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                 18CG-CC00124 - CARL RITTER JR V DELTA R-V SCHOOL DISTRICT ET
                                          AL (E-CASE)


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                                                                                                                            All Entries
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05/29/2018           Summons Issued-Circuit
                     Document ID: 18-SMCC-352, for SMITH, TROY.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-351, for SCHERER, MEREDITH.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-350, for IKERMAN, ALAN.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-349, for HUFFMAN, MATT.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-348, for BOND, SCOTT.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-347, for COOMER, DAVID.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-346, for COOK, KEN.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-345, for HEATH, MELISSA.
                     Summons Issued-Circuit
                     Document ID: 18-SMCC-344, for DELTA R-V SCHOOL DISTRICT.
                     Case Review Scheduled
                        Scheduled For: 10/01/2018; 9:00 AM ; BENJAMIN FREDERICK LEWIS; Cape Girardeau (Cape
                     Girard)

05/22/2018           Filing Info Sheet eFiling
                         Filed By: GABRYN L HAZEL
                     Note to Clerk eFiling
                       Filed By: GABRYN L HAZEL
                     Confid Filing Info Sheet Filed
                     Confid File Info Sheet.
                       Filed By: GABRYN L HAZEL
                       On Behalf Of: CARL RITTER JR
                     Pet Filed in Circuit Ct
                     Petition; Exhibit A.
                     Judge Assigned
Case.net Version 5.13.19.1                                      Return to Top of Page                                       Released 02/02/2018
